                 IN THE UNITED STATES DISTRICT COURT
             FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           WESTERN DIVISION

                              No. 5:01-CR-221-1H
                               No. 5:20-CV-436-H


 MICHAEL ANTRANTRINO LEE,                )
                                         )
             Petitioner,                 )
                                         )
                                         )
             v.
                                         )                   ORDER
                                         )
 UNITED STATES OF AMERICA,               )
                                         )
             Respondent.                 )




     This matter is before the court on petitioner’s motions to

“remove/lift      hold   of   the   abeyance”   on   his    § 2255    motion.

Petitioner filed a 2255 motion on July 30, 2020 and simultaneously

requested this court to hold his motion in abeyance.                  He now

requests the court move forward on his motion.             The court hereby

grants his motions to “remove/lift hold of the abeyance” [DE #163

and #170].   Additionally, the motion to hold in abeyance [DE #151]

should now be terminated as moot.


     A review of the record reveals that the motion petitioner

filed to vacate, set aside, or correct the sentence pursuant to 28

U.S.C. § 2255, received on July 30, 2020 [DE #150] does not

substantially follow the form appended to the Rules Governing

§ 2255 Proceedings and is therefore not in compliance with Rule


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2(c) of the Rules     Governing § 2255 Proceedings and Local Civil

Rule 81.2   of this court.    The Clerk is DIRECTED to send a copy of

the appropriate form to petitioner.        Petitioner must complete the

form in its entirety, sign it under penalty of perjury (or a person

authorized by petitioner, such as an attorney, may sign it) and

file the original with the Clerk of this court.


     Petitioner is DIRECTED to          return the form, in accordance

with these instructions, within fourteen (14) days from the filing

of this order.    Failure to do so may result in the dismissal of

this action or the striking of the motion.


     Send the original of the corrected § 2255 form to:
                           Clerk of Court
              United States District Court, E.D.N.C.
                        201 S. Evans Street
                       Greenville, NC 27858

     A copy of the completed § 2255 motion will be forwarded to

the United States Attorney.

     This 11th day of January 2021.




                             _______________________________________
                             MALCOLM J. HOWARD
                             Senior United States District Judge
At Greenville, NC
#26




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